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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION


 JERRY MAZZOLA,                                    §
                                                   §
        Plaintiff,                                 §
                                                   §
 v.                                                §     CIVIL ACTION NO. 1:19-CV-00469-TH
                                                   §
 LOWE’S HOME CENTER,                  LLC,         §
 EULISICA MOFFETT,
                                                   §
        Defendants.                                §


             ORDER ADOPTING REPORT AND RECOMMENDATION OF
                    UNITED STATES MAGISTRATE JUDGE

       This case is referred to the Honorable Zack Hawthorn, United States Magistrate Judge, for

all pretrial matters. The court has received and considered the report of the magistrate judge (Doc.

No. 29), which recommends denying Defendant Lowe’s Home Center, LLC’s “Motion for

Summary Judgment” (Doc. No. 16). No objections have been filed to the magistrate judge’s report

and recommendation, and the time for doing so has passed.

       It is, therefore, ORDERED that the magistrate judge’s “Report and Recommendation”

(Doc. No. 29) is ADOPTED, and Defendant Lowe’s “Motion for Summary Judgment” (Doc. No.

16) is DENIED.

       SIGNED this the 6 day of November, 2020.




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                                      Thad Heartfield
                                      United States District Judge
